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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

     UBIQUITI INC., f/k/a Ubiquiti Networks,
     Inc.,

                              Plaintiff,
                                                        Civil Action No.: 1:18-cv-05369
                        v.
                                                        JURY TRIAL DEMANDED
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;
                                                        Hon. J. Gary S. Feinerman
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
                                                        Hon. Mag. J. Jeffrey Cummings
     SAKID AHMED; and
     DMITRY MOISEEV

                              Defendants.


                 PLAINTIFF’S MOTION TO EXTEND DEADLINES FOR
                 FILING PRE-SETTLEMENT CONFERENCE LETTERS

       Plaintiff Ubiquiti Inc. (“Plaintiff”), by and through its undersigned counsel, respectfully

requests that the Court grant Plaintiff’s Motion to Extend Deadlines for Filing Pre-Settlement

Conference Letters (the “Motion”) in connection with the settlement conference to be scheduled

before Hon. Mag. J. Jeffrey Cummings in this action. 1 In support of the Motion, Plaintiff states

as follows:

       WHEREAS, this action has been referred to Magistrate Judge Cummings for a settlement

conference. A previously scheduled date for the settlement submissions and conference had to

be cancelled due to the COVID-19 pandemic. (Dkt. Nos. 100, 106, 115, 117, 123.)

       WHEREAS, Magistrate Judge Cummings recently issued an order setting forth the

following with respect to the rescheduling of the settlement conference: “Plaintiff shall submit a
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  Pursuant to the terms of the Fourth Amended General Order In Re: Coronavirus COVID-19
Public Emergency (Dkt. No. 131), Plaintiff has noticed this motion for presentment at the earliest
available date of July 16, 2020 – which date may be further subject to any individual orders
entered by this Court with respect to the scheduling of such presentment hearings.
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demand letter in conformance with the Court’s Standing Order on Settlement Conferences as

soon as practicable but in no event later than 6/1/2020. Defendants shall submit a compliant

written offer letter no later than 6/15/2020. The Court will set a telephonic status hearing in due

course to discuss rescheduling the settlement conference. To the extent possible, the parties are

encouraged to engage in settlement negotiations amongst themselves, by telephone or video

conference only.      In addition, the parties shall promptly notify the Court if they reach a

settlement agreement.” (Dkt. No. 127.)

        WHEREAS, Defendants have designated all documents produced in this action as

“CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” under the Agreed

Confidentiality Order entered in this case.

        WHEREAS, Plaintiff has filed a Motion to Compel De-Designation of Defendants’

Attorneys’ Eyes Only Production and for Sanctions, in which Plaintiff seeks to compel

Defendants’ de-designation of documents produced in this action as “CONFIDENTIAL

RESTRICTED – ATTORNEYS’ EYES ONLY.” (Dkt. No. 132, filed May 26, 2020.) The Court

has set a briefing schedule with respect to that motion as it pertains to the entirety of Defendants’

AEO designations, and has further ordered Defendants to respond to meet/confer correspondence

requesting the de-designation of certain specific documents (which Defendants previously ignored)

by no later than 5:00 p.m. CST on May 28, 2020. (Dkt. No. 138, entered May 27, 2020.)

        WHEREAS, Defendants’ overbroad designation of all production documents in this action as

“CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” has prevented Plaintiff’s

counsel from conferring with any of its client representatives regarding the content of Plaintiff’s pre-

settlement conference letter, including but not limited to the required sections pertaining to (a) the

evidence and legal principles that plaintiff asserts will allow it to establish liability, (b) explanation of

why damages or other relief would appropriately be granted at trial, and (c) itemization of the

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damages plaintiff believes can be proven at trial, and a brief summary of the evidence and legal

principles supporting those damages; and (d) Plaintiff’s settlement demand. See Standing Order for

Settlement Conferences (Mag. J. Cummings). As a result, Plaintiff’s counsel does not anticipate

being able to transmit a draft version of Plaintiff’s pre-settlement conference letter to its client

representatives and/or obtain client approval for Plaintiff’s pre-settlement conference letter until after

the Court enters its ruling on the pending Motion to Compel De-Designation of Defendants’

Attorneys’ Eyes Only Production and for Sanctions.

        WHEREAS, for the reasons set forth herein, Plaintiff seeks to extend the deadlines for

submission of the parties’ pre-settlement conference letters as set forth at the conclusion of this

Motion.

        WHEREAS, Plaintiff has conferred with Defendants as to this requested extension, and

Defendants have opposed Plaintiff’s request for the reasons set forth in the meet/confer

correspondence attached hereto as Exhibit A. In support of their opposition, Defendants contend

that Plaintiff should be able to submit its settlement demand letter without referencing any of the

documents produced by Defendants in this action (all of which have been designated as

attorneys’ eyes only). This contention is nonsensical for multiple reasons. First, it is impossible

for Plaintiff to comply with the Standing Order’s requirements for submission of its pre-

settlement conference demand letter without referencing the evidence (on liability) and financial

data (on damages) that has actually been produced by Defendants to date in this case. Second, it

is up to Plaintiff, not Defendants, to determine the specific evidence, documents and information

to be (i) evaluated by its in-house counsel representatives for purposes of formulating Plaintiff’s

settlement demand; and (ii) presented in Plaintiff’s pre-settlement conference submission in

support of its demand. Given the need for Plaintiff’s counsel to be able to share the documents

and information at issue with its client representatives prior to submission of the demand letter,

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Plaintiff requests that the Court grant its request to briefly extend the pre-settlement conference

submission deadlines until after entry of a ruling on Plaintiff’s motion to de-designate.

        WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

extend the deadlines for the parties’ submission of pre-settlement conference letters in this action

as follows:

    •   Plaintiff shall submit a pre-settlement conference demand letter in conformance with the

        Court’s Standing Order on Settlement Conferences within fourteen (14) days after the

        Court’s ruling on the pending Motion to Compel De-Designation of Defendants’

        Attorneys’ Eyes Only Production and for Sanctions; and

    •   Defendants shall submit a pre-settlement conference offer letter in conformance with the

        Court’s Standing Order on Settlement Conferences within fourteen (14) days after receipt

        of Plaintiff’s pre-settlement conference demand letter.


Dated: May 28, 2020                             Respectfully submitted by:

                                                FOX SWIBEL LEVIN & CARROLL LLP

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 28, 2020, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.


                                                   /s/    Erik J. Ives
                                                          Erik J. Ives




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